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 10   Attorneys for CNH Industrial Capital LLC
 11                         UNITED STATES BANKRUPTCY COURT
 12                                   DISTRICT OF ARIZONA
 13    In re:                                      Chapter 12
 14             CHASE WARREN,                      Case No. 2:21-bk-02061-DPC
 15             Debtor,                            APPLICATION FOR SUBSTITUTION
                                                   OF COUNSEL
 16
 17             PLEASE TAKE NOTICE that, pursuant to Rule 9010-1(e) of the Local Rules of
 18   the United States Bankruptcy Court for the District of Arizona, attorneys Thomas A.
 19   Denker, David Ruiz, and Adriane J. Hofmeyr of the law firm of Munger, Chadwick &
 20   Denker, P.L.C., hereby enter their appearance as counsel of record in the above-entitled
 21   action on behalf of and with the consent of creditor CNH Industrial Capital LLC in place
 22   of Christopher S. McDonagh of the law firm Raven & McDonagh, P.C., and that the
 23   master mailing list should be updated accordingly. The mailing address and telephone
 24   number for CNH’s counsel is as follows:
 25                   MUNGER, CHADWICK & DENKER, P.L.C.
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 28    // Signature page follows //


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  1         RESPECTFULLY SUBMITTED this 16th day of August, 2022.
  2
  3                                      MUNGER, CHADWICK & DENKER, P.L.C.
  4
                                         /s/ David Ruiz
  5                                      David Ruiz
                                         Adriane J. Hofmeyr
  6                                      Thomas A. Denker
                                         Substituting attorneys for CNH
  7
  8                                      RAVEN & MCDONAGH, P.C.
  9
                                         /s/ Christopher S. McDonagh
 10                                      Christopher S. McDonagh
                                         Withdrawing attorney for CNH
 11
 12   E-FILED on August 16, 2022, with the
      U.S. Bankruptcy Court and copies served
 13   via ECF notice on all parties that have
      appeared in the case.
 14
 15   COPY e-mailed the same date to:
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                                             Page
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